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                                                                                   2023 FE8 ~ I Pal i ~ !7
           In The District Court of Central California ~~.=~~-~~-~: ~ ~= ~ ~ ~~; couRr
                                                                                        ~`rr~ n_p.rG~LES

        Andre Nesbit,                      )        Damages.• $ 501 000,000
                     Plaintiff,            )
       -and-                               )       Case: 2:23-CV-01280-0DW-J Cx
       Dominds Pizza's LLC.                )
       Jon Dce                             )
       Somerset County Courthouse)




                            Parties and Jurisdiction
      1. The plaintiff, for all times mentioned herein, was and
                                                                is a resident of
      Los Angeles County, State of California.

      2. The defendants, for all times mentioned herein, was and
                                                                 is a resident
      ofand conducts business in Los Angeles County, State of
                                                               California.
      3.The Court has subject matter Jurisdiction over the claims
                                                                  presented
      under Article VI Section 10 of the California Constitution.

     4. Personal jurisdiction and venue are proper in this Superior
                                                                    Court
     because the defendant caused harm to the plaintiff in Los
                                                               Angeles
     County.



                           Legal Authori~


      1.     CACI 1600.Intentional Infliction of Emotional Distress




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         o        To establish this claim,[name of plaintiff] must prove all of the
         following:1. That[name of defendant]'s conduct was outrageous;2.
        [That[name of defendant] intended to cause [name of
         plaintiff]emotional distress;]2. [or]2. [That[name of defendant] acted
         with reckless disregard of the probability that[name of plaintiff] would
         suffer emotional distress,knowing that[name of plaintiff] was present
         when the conduct occurred;j3. That[name of plaintiff] suffered severe
         emotional distress; and4. That[name of defendant]'s conduct was a
         substantial factor in causing [name of plaintiff]'s severe emotional
         distress.
    2. 1704.Defamation per se -Essential Factual Elements (PrivateFigure -
       Matter of Private Concern)[Name of plaintiff]
           -~ claims that[name of defendant] harmed[him/her/nonbinary
               pronoun] by making [one or more of] the followingstatement(s):
              [list all claimed per se defamatory statement(s)]. To establishthis
               claim,[name of plaintiff] must prove all of the following:Liability1.
              That[name of defendant] made [one or more of] the
              statement(s)to [a person/persons] other than [name of
               plaintiff];2. That [this person/these people] reasonably
               understood that thestatement(s)[was/were] about[name of
               plaintiff];3. [That [this person/these people] reasonably
              understood thestatement(s) to mean that [insert grounds)for
              defamation per se,e.g., "[name of plaintiff] had committed a
              crime"]];4. That[name of defendant] failed to use reasonable
              care todetermine the truth or falsity of the statement(s).


                                       Definitions
         1.      The term defendent for all times herin is defined as the
         following:the term defendant encompasses all employees working on
         behalf of Domino's Pizza's store #7801.
         2.      The term Jon Doe for all times herin is defined as the
         following: the specific employee mentioned in complaint who
         interacted with the plaintiff. Appearance: the defendant's appearance
         is 5 '10-6' 0, over two hundred pounds, middle eastearn or hispanic
         origin, medium length hair, and looked as though he could be in his
         possible early twenties or younger. His first name is David.



                                   Causes of Action




                                                                                       ~a
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                First Cause of Action (Domino's Pizza LLC.($250,000,000)

                     Intentional Infliction of Emotional Distress

                               Argument and Summary ofFacts

          1.      On 2/17/2023 at 9:53 pm, at store #7801 for online order
         #2867 and store order #867,the defendant's conduct was outrages, for
         the defendant called the plaintiff a "Black punk ass bitch", Placed the
         reciept on the plaintiff nose, falsly claimed the plaintiff could not pay
         for his meal, and threatened to call the police to have him removed
         after the plaintiff previously filed multiple online complaints and a
         letter to corporate and the management at the store notifying them of
         the behavior. This card was paid for with the plaintiff's Visa debit
        card ending with 9352. In addition to this Domino's Pizza LLC has
        also made false criminal claims against the defendant such as theft and
        terroristic threats, leading to criminal warrants. Also, On 2/20/2023,
        after the incident that happened on 2/17/2023, in an attempt to harass
        me the store kept deleting my order that was placed online and refused
        to serve me, which the plaintiff has the electronic receipt of. This
        proves that this company as a whole is racist against black men and is
        going out of its way to harass black men such as the plaintiff. Even
        more disturbing, it brings the defendant pleasure to act in this manner:
        sickening.
        2.       The defendant meant to cause the plaintiff severe emotional
        distress, for the defendat did not want the plaintiff eating there, so in
        an effort to prevent the plaintifffrom ordering at the store and filing
        another negative complaint, the plaintiff decided to engage in behavior
       so aggregious and defaming that the plaintiff would decide to never
       eat at the store again. Dominos wishes to embrace racist and
       segregationist culuture of the sixties and prior, and they want to be
       sure that the African-Americans who live in the community they do
       business in know that. Domino's Pizza needs to do business in
       another country where that behavior is legal. The Unitied States and
       the District of Columbia have deemed this behavior illigal. Domino's
       Pizza LLC. must be shutdown completely.
       3.        The plaintiff suffered severe emotional distress, for this was
       done in front of many people: staff and customers included.
       4.        The defendant's behavior was a substantial factor, if not the
       only factor, in causing the plaintiff emotional distress.



              Second Cause of Action (Jon Doe~($1.000.000~,



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                       Intentional Infliction of Emotional Distress

                                 Argument and Summary ofFacts

          5.      On 2/17/2023 at 9:53 pm,at store #7801 for online order
          #2867 and store order #867, the defendant's conduct
                                                                   was outrages, for
          the defendant called the plaintiff a "Black punk ass bitch
                                                                        ", Placed the
          reciept on the plaintiff nose, falsly claimed the plaintiff
                                                                      could not pay
         for his meal, and threatened to call the police to have
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         after the plaintiff previously filed multiple online compl
                                                                     aints and a
         letter to corporate and the management at the store notif
                                                                       ying them of
         the behavior. This card was paid for with the plaintiff's
                                                                      Visa debit
         card ending with 9352. Also, On 2/20/2023, after the incid
                                                                          ent that
         happened on 2/17/2023, in an attempt to harass me the
                                                                    store kept
         deleting my order that was placed online and refused to
                                                                      serve me,
         which the plaintiff has the electronic receipt of. This
                                                                  proves that this
         defendant is racist against black men and is going out of
                                                                       its way to
         harass black men such as the plaintiff. Even more disturbing
                                                                            , it brings
        the defendant pleasure to act in this manner: sickening.
        6.       The defendant meant to cause the plaintiff severe emotional
        distress, for the defendat did not want the plaintiff eating
                                                                       there, so in
        an effort to prevent the plaintifffrom ordering at the store and
                                                                              filing
        another negative complaint, the plaintiff decided to enga
                                                                     ge in behavior
        so aggregious and defaming that the plaintiff would decid
                                                                        e to never
       eat at the store again.
       7.        The plaintiff suffered severe emotional distress, for this
                                                                               was
       done in front of many people: staff and customers included.
       8.        The defendant's behavior was a substantial, if not the only
       factor, in causing the plaintiff emotional distress.


        Third Cause ofAction (Domino's Pizza LLC.I(250.000
                                                                            .0001
                                  Defamation Per Se
                              Argument and Summary ofFacts

       1.      The defendant verbalized to the its entire staff that plaintiff
      could not pay for his meal because he was black, by saying
                                                                        the
       plaintiff is a black punk ass bitch, by stating the plaintiff
                                                                     stole money,
      and by stating the plaintiff terroristically threatened a memb
                                                                       er of its
      staff.
      2.       The defendant knew these statements were about the plaint
                                                                              iff;
      they said these comments to him and they put their false state
                                                                          ments in
      a criminal police report with the plaintiff's name and birthday.



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         3.      The defendant had no evidence of any accusations, and they
         took these statements to mean I'm a criminal, I'm weak,I'm poor,I'm
         not a citizen with rights, and that I cannot pay for the orders I place.
         4.      The defendant put no effort into determining the truth of these
         statements.

                   Fourth Cause ofAction (Domino's Pizza LLC.~

                         An Issuance for a Writ of Injuntion
         1.      The plaintiff is seeking an issuance for a writ of injunction
        prohibiting Domino's Pizza LLC.from doing business in
        California or any othe State of the United States of America, for
        they do not respect the laws and citizens of this country and wish to
        inflict pain and injury on its citizens. Domino's is not capapble of
        following all the laws ofour great country and they have absolutely
        no control over its employees.

              Fourth Cause ofAction (Somerset Countv Courthouse

                         An Issuance for a Writ of Injuntion

        The plaintiff is seeking an inssuance for a Writ of Injunction
        commanding Somerset County Courthouse to dismiss case
        20000478 with prejudice, for it was all based on a lie by Domino's
        Pizza LLC to harass the plaintiff.

                              PRAYER FOR RELIEF


       •        $120,750,000 for Pain and Suffering
       •        $120,750,000 for Emotional Distress
       •        $120,750,000 for Punitive Damages.
       •        $120,750,000 for Mental Anguish
       •        Injunctive Relief




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       Pro Se
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         undrenesbit@yahoo.com




         Signature: Andre Nesbit        Zl~,'/~~ ~




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